Case 0:20-cv-60885-RKA Document 15 Entered on FLSD Docket 06/15/2020 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                        Case No. 20-cv-60885-RKA
  BRANDON THOMPSON,

                   Plaintiff,

  v.

  FORT LAUDERDALE LAW GROUP SOUTH, PLLC,
  A Florida Limited Liability Company,

              Defendant.
  ____________________________________/

                           JOINT MOTION FOR EXTENSION OF TIME
                           TO CONDUCT SCHEDULING CONFERENCE

          Plaintiff, Brandon Thompson (“Plaintiff”), and Defendant, Fort Lauderdale Law Group

  South, PLLC, (“Defendant”) (collectively, the “Parties”), by and through undersigned counsel,

  hereby file this Joint Motion of Extension of Time to Conduct Scheduling Conference, and, in

  support thereof, states as follows:

       1. Plaintiff filed his complaint on May 1, 2020. See ECF No. 1.

       2. Defendant was served on May 13, 2020, and, therefore, the response is not due until June

          3, 2020. See ECF No. 4.

       3. Defendant filed its Motion for Extension of Time to Respond to Plaintiff’s Complaint on

          June 3, 2020. See ECF No. 7.

       4. At this time, counsel has not appeared for Defendant.

       5. The Parties are directed to file a Joint Scheduling Report, due by June 15, 2020. See ECF

          No. 8.

       6. The Defendant has not secured counsel to date.
Case 0:20-cv-60885-RKA Document 15 Entered on FLSD Docket 06/15/2020 Page 2 of 3



     7. Further, in lieu of this Court’s Order, ECF No. 11, the Parties are directed to either file a

         Notice of Settlement or a Notice of Non-Settlement by June 16, 2020.

     8. Therefore, the Parties request a seven (7) day extension of time, from June 15, 2020 (the

         date on which the Parties’ Joint Scheduling Report is due), to allow further settlement

         discussions and conduct the required scheduling conference within the given timeframe.

     9. This Motion is not made for purposes of delay, nor will there be any prejudice.

                                   MEMORANDUM OF LAW

         Rule 16 of the Federal Rules of Civil Procedure provides that once entered, the

  scheduling order “shall control the subsequent course of the action unless modified by a

  subsequent order . . . [and] “shall not be modified except upon a showing of good cause.”

  Fed.R.Civ.P. 16(b)(e).

         The Parties are directed to file a Joint Scheduling Report, due by June 15, 2020. See ECF

  No. 8. Service was delayed due to the service company suspended service as a result of the

  COVID-19 pandemic and the Defendant has yet to secure representative at this time. As such,

  the scheduling conference cannot occur within the time prescribed by this Court.

         Therefore, the Parties requests a seven (7) day extension of time, from June 15, 2020 (the

  date on which the Parties Joint Scheduling Report is due), to conduct the scheduling conference.

         WHEREFORE, for the reasons discussed above, the Parties requests a seven (7) day

  extension of time, from June 15, 2020 (the date on which the Parties’ Joint Scheduling Report is

  due), to conduct the scheduling conference.

         Dated this 15th day of June 2020.

                                                      Respectfully Submitted,

                                                      /s/ Noah E. Storch_____
                                                      Noah E. Storch, Esquire
Case 0:20-cv-60885-RKA Document 15 Entered on FLSD Docket 06/15/2020 Page 3 of 3



                                                    Florida Bar No. 0085476
                                                    RICHARD CELLER LEGAL, P.A.
                                                    10368 West State Road 84, Suite 103
                                                    Davie, Florida 33324
                                                    Telephone: (866) 344-9243
                                                    Facsimile: (954) 337-2771
                                                    Email: noah@floridaovertimelawyer.com

                                                    Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed with

     the Court’s CM/ECF electronic filing system which will send a copy to all counsel of record

     on this 15th day of June 2020.


                                                    s/Noah E. Storch
                                                    Noah E. Storch, Esq.
